              Case 2:18-cr-00162-JLR Document 189 Filed 01/21/20 Page 1 of 2




 1                                                               HONORABLE JAMES L. ROBART
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 5
                                UNITED STATES DISTRICT COURT
 6                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                           Cause No. CR 18-162 JLR
 9                  Plaintiff,                           MOTION TO SEAL
                                                         DEFENDANT’S SECOND
10          vs.                                          SUPPLEMENTAL
                                                         SENTENCING MEMORANDUM
11   HANY VELETANLIC,
                                                         Note on Motion Calendar:
12                  Defendant.
                                                         January 31, 2020
13

14          Defendant Hany Veletanlic, by and through his Attorney Gilbert H. Levy, moves for
15   entry of an order sealing his Second Supplemental Sentencing Memorandum and the document
16   attached thereto. The basis of this Motion is that the Memorandum refers to documents that
17   were previously filed under seal at the Government’s request and it refers to witnesses by name
18   whose statements are contained in exhibits previously filed under seal.
19   //
20   //
21   //
22   //
23

      MOTION TO SEAL DEFENDANT’S
24    SECOND SUPPLEMENTAL                                                             Gilbert H. Levy
      SENTENCING MEMORANDUM - 1                                                               Attorney at Law
                                                                                       2125 Western Avenue, Ste 330
                                                                                        Seattle, Washington 98121
                                                                                    (206) 443-0670 Fax: (866) 471-6818
               Case 2:18-cr-00162-JLR Document 189 Filed 01/21/20 Page 2 of 2




 1           DATED: January 21, 2020.
 2

 3
                                                    /s/Gilbert H. Levy
 4                                                  Gilbert H. Levy, WSBA #4805
                                                    Attorney for Defendant
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 8                                     CERTIFICATE OF SERVICE
 9           I certify that on January 21, 2020, I caused to be electronically filed the foregoing document
10   with the Clerk of Court using the CM/ECF system, which will send notification of such filing to the
11   attorney(s) of record.
12
                                                    /s/Gilbert H. Levy
13                                                  Gilbert H. Levy, WSBA #4805
                                                    Attorney for Defendant
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      MOTION TO SEAL DEFENDANT’S
24    SECOND SUPPLEMENTAL                                                                   Gilbert H. Levy
      SENTENCING MEMORANDUM - 2                                                                     Attorney at Law
                                                                                             2125 Western Avenue, Ste 330
                                                                                              Seattle, Washington 98121
                                                                                          (206) 443-0670 Fax: (866) 471-6818
